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Information to identify the case:
Debtor 1              David Robert O'Flynn                                  Social Security number or ITIN    xxx−xx−6938
                      Name                                                  EIN _ _−_ _ _ _ _ _ _
Debtor 2              Pamela Sue O'Flynn                                    Social Security number or ITIN    xxx−xx−6498
(Spouse, if filing)
                      Name                                                  EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court − Southern District of Indiana

Case number:          12−13117−RLM−13



Order of Discharge                                                                                                     12/2015

IT IS ORDERED that a discharge under 11 U.S.C. § 1328(a) is granted to the following debtors:

          David Robert O'Flynn                                    Pamela Sue O'Flynn



Dated: February 2, 2018                                            By the court: /s/ Robyn L. Moberly
                                                                                 Judge, U.S. Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                    Pursuant to 11 U.S.C. § 524(f), this order does
                                                                  not prevent the debtors from paying any debt
Creditors cannot collect discharged debts                         voluntarily.
This order means that no one may make any
attempt to collect a discharged debt from the                     Most debts are discharged
debtors personally. For example, creditors cannot                 Most debts are covered by the discharge, but not
sue, garnish wages, assert a deficiency, or                       all. Generally, a discharge removes the debtors'
otherwise try to collect from the debtors                         personal liability for debts provided for by the
personally on discharged debts. Creditors cannot                  chapter 13 plan.
contact the debtors by mail, phone, or otherwise
in any attempt to collect the debt personally.                    In a case involving community property, special
Creditors who violate this order can be required to               rules protect certain community property owned
pay the debtors damages and attorney's fees.                      by the debtors' spouse, even if that spouse did
                                                                  not file a bankruptcy case.
However, a creditor with a lien may enforce a
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to
foreclose a home mortgage or repossess an
automobile.
                                                                                              For more information, see page 2 >




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Debtors David Robert O'Flynn and Pamela Sue O'Flynn                                           Case number 12−13117−RLM−13

Explanation of Bankruptcy Discharge in a Chapter 13 Case (continued)


Some debts are not discharged                                       • Debts for certain consumer purchases made
Examples of debts that are not discharged are                         after the bankruptcy case was filed if obtaining
listed below:                                                         the trustee's prior approval of incurring the debt
                                                                      was practicable but was not obtained.
• Debts that are domestic support obligations.
                                                                    • Debts for restitution, or damages, awarded in a
• Debts for most student loans.                                       civil action against the debtors as a result of
                                                                      malicious or willful injury by the debtors that
• Debts for certain types of taxes specified in 11                    caused personal injury to an individual or the
  U.S.C. §§ 507(a)(8)(C), 523(a)(1)(B), or                            death of an individual.
  523(a)(1)(C) to the extent not paid in full under
  the plan.                                                         • Debts for death or personal injury caused by
                                                                      operating a vehicle while intoxicated.
• Debts that the bankruptcy court has decided or
  will decide are not discharged in this bankruptcy                 In addition, this discharge does not stop creditors
  case.                                                             from collecting from anyone else who is also
                                                                    liable on the debt, such as an insurance company
• Debts for most fines, penalties, forfeitures, or                  or a person who cosigned or guaranteed a loan.
  criminal restitution obligations.

• Some debts which the debtors did not properly                       This information is only a general summary
  list.                                                               of a Chapter 13 discharge; some
                                                                      exceptions exist. Because the law is
• Debts provided for under 11 U.S.C. § 1322(b)(5)                     complicated, you should consult an
  and on which the last payment or other transfer                     attorney to determine the exact effect of the
  is due after the date on which the final payment                    discharge in this case.
  under the plan was due.




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